Case 22-10098-tnw   Doc 363-5 Filed 11/10/23 Entered 11/10/23 07:52:59   Desc
                        Exhibit E - Emails Page 1 of 4



                               EXHIBIT E
       Case 22-10098-tnw                 Doc 363-5 Filed 11/10/23 Entered 11/10/23 07:52:59           Desc
                                             Exhibit E - Emails Page 2 of 4
On Feb 3, 2022, at 5:00 PM, Gerald Quitter <jquitter@coalnetwork.com> wrote:

Salvador -
Much appreciated for your assistance on getting us paid at Demopolis. We are still working on Knoxville on an
alternate source and 1 from Firestar. Hope to revert by no later than Monday.
Sent from my iPhone


       On Feb 3, 2022, at 8:41 AM, Jose Salvador Pamanes Maltos <salvador.pamanes@cemex.com>
       wrote:

       ?
       Hello Jerry

       You should receive the payments from Demopolis today

       Regards



       Salvador Pám anes
       10100 Katy Freeway Suite 300 Houston, TX, 77043
       Of f ice: +1713-722-6355, CXNET: 800116355
       US Mobile: +1281-6907204,
       salv ador.pamanes@cemex.com



       From: Gerald Quitter <jquitter@coalnetwork.com>
       Sent: Wednesday, February 2, 2022 11:18 AM
       To: Jose Salvador Pamanes Maltos <salvador.pamanes@cemex.com>
       Cc: Karen Gulley <kgulley@coalnetwork.com>; Suzanne Miller <smiller@coalnetwork.com>
       Subject: RE: Section 7.3 Notice of Withholding of Payment.

        CAUTION: External Email | PRECAUCIÓN: Correo electrónico externo |
        VORSICHT: Externe E-Mail | ATTENTION: Courriel externe


       S – I understand your position re: Knoxville even though it’s hugely detrimental to Coal Network,
       however we do need those funds for coal shipped to Demopolis as soon as possible per my email
       below. Those payments were due yesterday so please advise as to when we can expect payment.

       Thank You,
       Jerry

       From: Jose Salvador Pamanes Maltos <salvador.pamanes@cemex.com>
       Sent: Wednesday, February 02, 2022 11:59 AM
       To: Gerald Quitter <jquitter@coalnetwork.com>
       Cc: Karen Gulley <kgulley@coalnetwork.com>; Suzanne Miller <smiller@coalnetwork.com>
       Subject: RE: Section 7.3 Notice of Withholding of Payment.

       Hello Jerry
Case 22-10098-tnw       Doc 363-5 Filed 11/10/23 Entered 11/10/23 07:52:59                          Desc
About the coal for Demopolis should be E
                               Exhibit no-problem.
                                           Emails Page 3 of 4

Unfortunately everything related to Knoxville was put it on hold.

Please, restart deliveries at Knoxville as per contract in order to have everything working as it
should be

Regards



Salvador Pám anes
10100 Katy Freeway Suite 300 Houston, TX, 77043
Of f ice: +1713-722-6355, CXNET: 800116355
US Mobile: +1281-6907204,
salv ador.pamanes@cemex.com



From: Gerald Quitter <jquitter@coalnetwork.com>
Sent: Tuesday, February 1, 2022 4:12 PM
To: Jose Salvador Pamanes Maltos <salvador.pamanes@cemex.com>
Cc: Karen Gulley <kgulley@coalnetwork.com>; Suzanne Miller <smiller@coalnetwork.com>
Subject: RE: Section 7.3 Notice of Withholding of Payment.

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 VORSICHT: Externe E-Mail | ATTENTION: Courriel externe


Salvador – we are continuing to attempt to work out a solution with Firestar regarding the lack of
deliveries to Knoxville for the month of January. In so doing, please advise as to the status of
payment for coal shipped to the Demopolis plant. We show Cemex did not pay for $32,040.65
worth of coal that was supplied in September and payable on January 1s t nor the $212,022.98
amount of coal supplied during October payable today. This is critical we get resolved as soon as
possible as the Knoxville situation should have no bearing on our performance at Demopolis.

I look forward to your response,
Jerry



Gerald A. Quitter
President
Coal Network, LLC
7697 Innovation Way, Suite 100
Mason, OH 45040

Email: gquitter@coalnetwork.com
Office: (513) 701-0378 Office
Mobile: (513) 313-6541 Mobile
www.coalnetwork.com




From: Jose Salvador Pamanes Maltos <salvador.pamanes@cemex.com>
Sent: Thursday, January 27, 2022 10:32 PM
              Case 22-10098-tnw         Doc 363-5 Filed 11/10/23 Entered 11/10/23 07:52:59                         Desc
              To: Gerald Quitter <jquitter@coalnetwork.com>
                                             Exhibit E - Emails Page 4 of 4
              Subject: Section 7.3 Notice of Withholding of Payment.

              Dear Gerald

              Please see attachment

              Regards



              Salvador Pám anes
              10100 Katy Freeway Suite 300 Houston, TX, 77043
              Of f ice: +1713-722-6355, CXNET: 800116355
              US Mobile: +1281-6907204,
              salv ador.pamanes@cemex.com


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